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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-576V
                                     Filed: March 30, 2018
                                         UNPUBLISHED


    LAURA SHANAHAN,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On April 28, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that that she suffered from a left shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she received
on September 14, 2016. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

       On March 19, 2018, a ruling on entitlement was issued, finding petitioner entitled
to compensation for SIRVA. On March 30, 2018, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $47,500.00. Proffer at
1. In the Proffer, respondent represented that petitioner agrees with the proffered


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award. Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $47,500.00 in the form of a check payable to
petitioner, Laura Shanahan. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


    LAURA SHANAHAN,

                 Petitioner,                           No. 17-576V
    v.                                                 Chief Special Master Dorsey
                                                       ECF
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                 Respondent.


                               PROFFER ON AWARD OF DAMAGES

         On April 28, 2017, Laura Shanahan (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34 (“Vaccine Act” or “Act”), as amended. Respondent conceded petitioner’s entitlement to

compensation in his Rule 4(c) Report filed on March 19, 2018. Based on Respondent’s Rule

4(c) Report the Chief Special Master found petitioner entitled to compensation.

I.       Items of Compensation

         Based on the evidence of record, respondent proffers that petitioner should be awarded

$47,500.00, which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. §300aa-15(a). Petitioner agrees.

II.      Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $47,500.00, in the form of a check made payable to petitioner. 1

Petitioner agrees.


1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
                                                 1
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      Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                            Respectfully submitted,

                                            CHAD A. READLER
                                            Acting Assistant Attorney General

                                            C. SALVATORE D’ALESSIO
                                            Acting Director
                                            Torts Branch, Civil Division

                                            CATHARINE E. REEVES
                                            Deputy Director
                                            Torts Branch, Civil Division

                                            ALEXIS B. BABCOCK
                                            Assistant Director
                                            Torts Branch, Civil Division

                                             s/Jennifer L. Reynaud
                                            JENNIFER L. REYNAUD
                                            Trial Attorney
                                            Torts Branch, Civil Division
                                            U.S. Department of Justice
                                            P.O. Box 146
                                            Benjamin Franklin Station
                                            Washington, D.C. 20044-0146
                                            Tel: (202) 305-1586
Date: March 30, 2018




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